
98 N.Y.2d 644 (2002)
AMBER PAYNTER, by Her Parent and Natural Guardian, MONA STONE, et al., Appellants,
v.
STATE OF NEW YORK et al., Respondents.
Court of Appeals of the State of New York.
Submitted April 8, 2002.
Decided May 2, 2002.
Concur: Chief Judge KAYE and Judges LEVINE, WESLEY, ROSENBLATT and GRAFFEO. Judges SMITH and CIPARICK dissent and vote to retain jurisdiction of the appeal.
Appeal dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
